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CaS€ 09-33776-btb DOC 498 Entered 09/11/12 12217:03 Page l Of 11

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Attomeys for Movan.t,

DEL WEBB COMMUNITIES, INC.

UNI'I`ED STATES BANKRUPTCY CUUR'L`

DISTRIC'H` OF NEVADA

IN RE: CASE NO: 09~33776-bam

)
)
EXECUTEVE PLASTERING, INC., ) CHAPTER: 7
)
) MoTIoN FoR RELIEF FROM
D@bi-@r. ) AUTOMAT§C sTAY
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Heating Date: October 16, 2012
Hearing Time: 1:30 p.m.

 

 

COMES N()W Movant DEL WEBB COMMUNITIES, INC. (hereinafter “M'ovant”)
by and through their attomeys, KOELLER, NEBEKER, CARLSON & HALUCK, LLP, and
respectfully moves this Honorable Ccurt, for an Order lifting the automatic bankruptcy stay
pursuant to il U.S.C. § 362(&). Movant seeks relief from the automatic stay so it may proceed
M against the availabie insurance assets of Debtor, Executive Plastering, Inc. (hereinafter
“Debtor.”) Ii` the requested relief is granted, Movant would Waive any claims it has against the
subject bankruptcy estate
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Page 1 ot`ll 150533-1

 

 

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CaS€ 09-33776-btb DOC 498 Entered 09/11/12 12217:03 Page 2 Of 11

This i\/Iction is based upon the attached Mernorandum of Points and Authorities, the
pieadings and papers on file and such other and further evidence as may be offered at the time
of the hearing of this Motion.

DArED this larry er september, 2012.

KOELLER NEBEKER CARLSON &
HALUCK, LLP

By: U/Q/ %f

CASSANDRA S. CUMMINGS, BSQ%:'
Nevada Bar No. ll944
300 S. Fourth Street, Suite 500

Las `Vegas, Nevada 8910£

Attorneys for Movant,

DBL WEBB COMMUNITIES, INC.

I. STA'I`EMENT OF FACTS
On or about September 28, 2009, Debtor filed a voluntary petition for relief under

Chapter 7 of the United States Bankruptcy Code, Nevada Bankruptcy Ccurt case No. 09-
33'776»barn. Mcvant is a creditor of Debtor and, therefore, quaiities as a party in interest in this
case. Movant seeks to proceed against available insurance assets of Debtor in the foliowing

construction defect matters

A. Dcl Webb Comrnu:__)_.ities, ligqu

Debtor executed subcontracts With Movant to perform Worl< at various communities in
Ciark County, Nevada. Debtor’s scope of Work as a contractor is implicated in the below
construction defect matters

i. St‘ephen and Patricia Ballweber et al. v. Del Webb Communfl'ies, Inc., Ciark
County District Court Case No. A647881

On or about July 16, 20£0, Piaintift`s Stephen and Patricia Baliweber served l\/Iovant
vvith a purported Notice of Constructional Det`ects pursuant to NRS 40.645. Tiie Notice alleges

defects Within their singie famiiy horne iocated at 2736 Cherrydale Falls Drive in Henderson,

Page 2 of 11 150533-1

 

 

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CaS€ O9-33776-btb DOC 498 Entered 09/11/12 12217:03 Page 3 Of 11

Nevada in the Sun City Antiiem community Piaintift`s’ claims Went through the pre~litigation
process and Were unresolved Plaintiffs filed a Complaint against l\/iovant on Septeinber 6,
2011. On January 25, 20i2, Movant filed its Answer to Plaintift`s’ Complaint.

Ori February 6, 2012 Movant filed its Third#Party Cornpiaint against the implicated
subcontractors, including Executive Piastering, Inc., for express indemnity, equitable
indemnity, breach of contract, breach of express Warranty, breach of implied Warranty,
contribution, and declaratory relief regarding duty to defend, indemnify and name l\/lovant as
an additional insured On January 23, 20i2, Piaintift`s filed their First Arnended Cornplaint,
naming an additional fifteen (15) homeowners as Plaintifts. Movant fried its Answer to
Plaintifli`s’ First Aniended Ccrnplaint on February 6, 2012. Oii Ju.iy 23, 20i2, l\/iovant filed its
First Arnended lhird~Party Cornpiaint naming an additional five (5) subcontractors as Third-
Party Dei"endants.

i\/lovant seeks recovery from Debtor for indemnification and payment of the total
amount of any judgment rendered against l\/lovant based upon Piaintiffs’ First Aniended
Compiaint, together With Movant’s attorneys’ fees, expenses and costs incurred in defending
the Ballweber litigation Additionally, Movant seeks recovery for any and all attorneys’ t`ees,
`experts’ fees, costs and discovery expenses incurred by Mcvant in its pursuit of its Ainended
Third-Party Compiaint.

ii. Stephen and Patrici`a Ballweber et al. v. Del Webb Commum'fi`es, Inc., Clarl<
County District Court Case No. A65 8216

On or about July i6, 2010, Plaintiffs Stephen and Patricia Ballweber served l\/iovant
vvitii a purported Notice of Construction Dei`ects pursuant to NRS 40.645. The Notice alleges
defects Witliin their single family home located at 2849 Hardvvick Piries Drive in Henderson,
Nevada in the Sun City Antliein community Piaintiffs filed a Coinplaint against l\/iovant on
March 14, 2012. The Cliapter 40 Notice and Complaint implicate the Work of Debtor.
Thereforc, the participation of Debtor is imperative to the disposition of this case. i\/iovant
intends to proceed against Debtcr’s insurance oniy. Relief from the automatic stay is necessary

to proceed in this matter

Page 3 of]l 150533~1

 

 

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B, Hebtor’s Contractual l)uties to Insure, Defend and Indeinnifv

i\/lovant’s claims against Debtor in the above matters stem from subcontracts entered
into between Movant and Debtor whereby Debtor agreed to provide materials and labor at the
Sun City Anthern development Pursuant to those subcontracts Debtor agreed to obtain general
liability insurance Tlie subcontracts also provide that Debtor was to name l\/lovant as an
additional-insured on its general liability policies l’ursuant to the subcontracts Debtor agreed
to defend and indemnify i\/lovant for all claims directly or indirectly caused by Debtor’s
negligent or intentional act or omission iii Debtor’s performance of the work described in the
subcontracts between Debtor and Movant.

ln seeking relief from the automatic stay, l\/lovant seeks to pursue its claims against
Debtor and recover only from the proceeds of l)ebtor’s policies of commercial general liability
insurance in the event that such policies are exhausted Movant would not seek to recover
from Debtor directly, or from assets of the bankruptcy estate l.\/iovant’s recovery against
Debtor would be limited to the available coverage under those policies, and l\/lovant would
waive its right to seek recovery from this Court for any further unsecured claim or deficiency
judgment resulting from the matters described above. Movant would waive any claims against
Debtor and the estate following liquidation and closure of Debtor’s bankruptcy case. Movant
would also waive its claims, if any, to any deductible or payment of any self-insured retention
under the applicable policies

II. RELIEF REOUESTED

A. Legal Standard Under 11 U.S.C. §362(d)(1)

l\/lovant seeks relief from the automatic stay in order to proceed with its claims against
Debtor iii the above matters Lifting the stay will allow the Debtor to participate in these
matters and permit the District Court to bring resolution to those cases as efficiently as
possible

Section 362(d)(l) of the Bankruptcy Code provides:

(d) On request of a party in interest after notice and a hearing, the court shall
grant relief from the stay provided under subsection (a) of this section, such as
by terminating annulling, modifying, or conditioning such stay ~

Page 4 of ll i50533~l

 

 

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(l)for cause, including the lack of adequate protection of an interest in
property of such party in interest ..

ll U.S.C. § 362(d) (emphasis added). “'I`lie burden ot` proof on a motion to modify the
automatic stay is a shifting one” as the party seeking relief must establish a prima facie case
that there exists cause for relief under ll U.S.C. § 362(d){l). 1a re sz'rh, 389 B.R. 902, 918
(Bl<rtcy.D.Nev.2008); fn re Duvar Apt., Inc., 205 B.R. l96, 200 (th Cir. BAP 1996). Once the
moving party has established a prima facie case, the burden shifts to the debtor to show that
relief from the stay is unwarranted ll U.S.C. §362 (g)(2); fn re Sonnax, 907 F.2d 1280, 1285
(2“‘* ca 1 990); 1a re navai»iipr., 205 B.R. ar 20a

Section 54l(a) of the Code states that the debtor’s bankruptcy estate is comprised of
property in which the debtor has a legal or equitable interest 11 U.S.C. §54l(a)(1). Where
there exists a bona fide dispute as to whether property is part of the bankruptcy estate, the
burden is on the creditor to seek a determination from the bankruptcy court as to whether or not
such property is subject to the automatic stay. fn re Perir, 217 F.3d 1072, 1075 (9%]‘ Cir. 2000.)
If it can be shown that the debtor does not have equity in property claimed to be part ot` the
estate, the bankruptcy court may lift the automatic stay. fn re Collz`ns, 199 B.R. 561, (Bani<r
W.D.Pa. l996); ll U.S.C. §362(d)(2)(A).

Section 524(a) of the Banl<ru.ptcy Code explicitly renders judgments void for “...the
personal liability of the debtor...” 11 U,S.C. §524(a)(1). “Accordingly, the statutory language
on its face, does not preclude the determination ot` the debtor’s liability upon which the
damages would be owned to another party, such as the debtor’s liability insurance.” fn re Jet
Flor'ida Sysrems, Inc., 883 F.2d 970, 973 (l lth Cir. 1989).

The provisions of 524(a) apply only with respect to the personal liability
of the debtor. When it is necessary to commence or continue suit against a
debtor in order, for example, to establish liability of another, perhaps a
sui‘ety, such suit would not be barred Section 524(€) was intended for the
benefit of the debtor but was not meant to affect the liability of third
parties or to prevent establishing such liability through whatever means
required

Page 5 of ll 150533-1

 

 

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]d., (lnternal citation omitted.) Accordingly, the Code does not seek to shield third parties, such
as debtor’s insurers, from liability Ici.
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A. There is last C¢rusefor firemng Movant Relieffrom the Sray

There are twelve non-exclusive factors that should be weighed in determining whether
to lift an automatic stay to permit pending litigation in another forum fn re Smiz‘h, 389 B,R.
902, 918~919 (Bkrtcy. D. Nev. 2008). Those factors and Movant’s analysis of each, are as
follows:

(1) Whether the relief would result in a partial or complete resolution of

the issues §Id. );
ll l\/lovant is granted relief from stay for the purposes of establishing Debtor’s liability

in the above matters it will be able to resolve all its claims for indemnification and
contribution against Debtor in those matters

(2) The lack of any connection with or interference with the bankruptcv

case §Id. ;;

Tliere is no connection between the above matters and Debtor’s bankruptcy case, nor
will the pursuit of the Debtor in this matter interfere with the bankruptcy case.
(3) thther the other proceeding involves the debtor as a fiduciary (Id.);

The Debtor is not a liduciary in the above matters;

(4) Whether a specialized tribunal with the necessary expertise has been
established to hear the cause of action (Id.);

 

A specialized tribunal is not required to hear the above matters These matters are
underway in Department XIX and Department XVI of Clark County District Court. These are
two of the three judicial departments which hear construction defect matters, and have
established policies and protocols t`or doing so.

(5) Whether the debtor’s insurer has assumed full responsibility for

defending it {]ci. );

Debtor’s insurance carriers are currently investigating the claims and have not yet

assumed full responsibility for the defense of Debtor in the above matters

Page6 ofli 150533-1

 

 

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(6) Whether the action primarily involves third parties and the debtor
functions only as a bailee or conduit for the goods or proceeds in

guestion {Ia’. 33

'l`he above matters involve subcontractors such as the Debtor, who obtained insurance
policies which name l\/lovant as an additional insured. Accordingly, the Debtor, as an insured,
would function only as a conduit for the insurance proceeds from those policies l\/lovant would

not pursue Debtor personally or assets of its bankruptcy estate.

(7) Whether litigation in another forum would prejudice the interest of the
other creditors or other interested parties (Id.):

Movant’s pursuit of claims against Debtor in the above matters will not prejudice the
interest of other creditors in this ban.k.ru.ptcy, because Debtor’s commercial general liability
policies in question names Movant as an additional insured

(8) Whether the iudgment claim arising from the other action is subiect to
equitable subordination under Section 510(0) ([d.);

Any judgments arising from the above matters are not subject to equitable subordination
under Section 5 lO(c).

(9) Whether inovants’ success in other proceeding would result in a
iudicial lien avoidable by the debtor under Section 522(il (Id.);

This factor is inapplicable for the above matters

(10) The interests of iudicial economy and the expeditious and economical
resolution of litigation (Ici. );

lifting the automatic stay will serve the interests of judicial economy and the
expeditious and economical determination of litigation by allowing l\/Iovant to negotiate
settlements of all claims against Debtor with Debtor’s insurance carriers

(l l) Whether the parties are ready for trial in the other proceedings (]d.); and

The above matters have not been set for trial.

(12) In)pact of the stay on the parties and the balance of harms (Id,).

Denial of the requested relief would severely prejudice l\/lovant in its pursuit of its

claims in the above matters

Page 7 of ll lSGSSS~l

 

 

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An examination of the factors above yields the conclusion that just cause exists for
lifting the automatic stay. If the stay is not lifted, precluding Movant from establishing the
Debtc)r’s liability in tire above matters, Movant will be deprived of any recovery from Debtor’s
implicated insurers Banl<ruptcy courts have held that “...tlic goals of section 524(a) would not
be advanced by preventing a plaintiff from maintaining an action against tile debtor in order to
establish the debtor’s liability when that was a prerequisite to recovery from the insurer.” la re
Marm, 58 B.R. 953, 958 (Bankr. W.D.Va. 1986).

The determination of Debtor’s liability in the above matters Will not prejudice Debtor,
as its property is not subject to risk. fn re Jet Flcrida Systems, Inc., 883 F.Zd 97{), 974 (1 ith
Cir. l989). The pursuit of these lawsuits will only affect the assets and liability of l)ebtor’s
implicated insurers, and will not affect the Debtor personally fn re Whire, 73 B.R. 983 , 985
(Banl<r.D. Col. 1987).

There is cause to grant relief from the stay to allow l\/lovant to pursue Debtor’s
insurance proceeds in these cases. Should relief be granted, l\/lovant will proceed with its
actions against Debtor and its insurance carriers

Movant will not seek to enforce any judgment against Debtor or the Debtor’s
bankruptcy estate. Debtor’s insurance carriers are riot protected by the Banl<ruptcy Code.
Furthermore, ll U.S.C. § 524 does not act to shield third parties such as insurers, Who are
subject to liability on behalf of the debtor. Irz re Jet Florida Systcms, Inc., 883 F.Zd 970, 974
(l ith Cir. 1989). Accordingly, the Court should grant Movant relief from the automatic stay
and permit it to pursue its claims against Debtor.

D. Debtor"s Commercial General Liabilitv Insurance Should Not be Ineluded
in the Bankruptey Estate

Movant seeks relief from the stay in order to pursue its claims against Debter for the
limited purpose of establishing Debtor’s liability in the above matters, so that it may recover
from tire Debtor’s policies of commercial general liability insurance l\/lovant maintains that
the insurance policies in question are not subject to the stay. While Debtor maintains a

possessory interest in the applicable insurance poiicies, it does not have an equitable interest in

Page 8 of ii l50533-l

 

 

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those policies Any proceeds from those policies would not benefit the Debtor in
reorganization, as this is a Chapter 7 bankruptcy case. fn re 48¢‘h Street‘ Steakhouse, Inc., 835
F.Zd 42'7,430 (2nd Cir.l987).

The proceeds of Debtor’s commercial general liability policies cannot be used by the
Debtor except to satisfy claims covered by those policies The Debtor does not accumulate
equity in such policies Accordingly, the policies at issue here should not be subject to the
automatic stay and should not be included in the bankruptcy estate Additionally, the Debtor
will not be prejudiced by exposure to liability in this matter because “[t]he Debtor and his
property are not subject to any risk, and maintenance of the suit does not frustrate the policy of
the Banl<ruptcy Code in giving the Debtor a fresh start in his economic life.” 111 re Jet Florida
Systems, Irzc., 883 F.Zd 970,9'74 (l lth Cir. 1989) (irztema! citations cmitred.)

l\/lovant’s pursuit of its claims against Debtor will not affect property of the estate or in
any way cause an impact to the Debtor's economic future Therefore, l\/Iovant requests this
Court grant its present Motion for Relief from Stay.

` iv. CoNcLusioN

Movant respectfully requests this Court grant it relief from the automatic stay so that it
may pursue its claims against Debtor for the limited purpose of establishing Debtcr’s liability
in above~discussed matters
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Page 9 of ll 150533~1

 

 

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This relief Will not affect the Debtor or the bankruptcy estate directly, and Movant will
only seek recovery through Debtor’s general liability policies of insurance which are not part of
the bankruptcy estate, from Debtor’s insurers, who are not protected by the Cod.e. Movant will
Waive any claims it has against the subject bankruptcy estate

DA'I`ED this M;&day of September, 20l2.

KOELLER NEBEKER CARLSON &
HALUCK, LLP

  

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Page 10 of il l50533-l

 

 

 

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Case 09-33776-btb Doc 498 Entered 09/11/12 12:17:03 Page 11 of 11

CERTIFICATE OF SERVICE

l HEREBY CERT§FY that on September ll, 20l2, l caused to be served a true and
correct copy of the foregoing MOTION F()R RELIEF §*`ROM AUTOMATIC STAY, by
mail using the United States Postal Service with first class postage prepaid thereon in a sealed
envelope addressed to the following:

William A. Leonard Bxecutive Plastering

Chapter 7 Trustee 220 Commerce Park Ct.

6625 South Valley View, #224 No. Las Vegas, Nevada 89032
Las Veaas. Nevada 89118

Andrew E. Smith, l£sq. Adarn P. Bowler, qu.

788l W. Charleston Blvd., #2l0 Timothy Cory & Associates
Las Vegas, Nevada 8831 West Sahara Avenue

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An Fprhployee of Koeyl'er Nebeker Carlson & Haluck LLP

 

Page ll of ll l50533-l

 

 

 

